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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
                                CIVIL MINUTES - GENERAL
Phoenix Division

CV-17-1459-PHX-SPL          DATE: December 7, 2017


Title: Aslamy vs. Navient Corporation et al
       Plaintiff Defendants
=========================================================================

HON: David K. Duncan                  Judge #70BL/DKD

       Caryn Smith                     CourtSmart
       Deputy Clerk                    Recorded

APPEARANCES:
Pro Se Plaintiff: Kari Aslamy
Ashley Calhoun for Defendants with Client Representative, Robert Tanenbaum

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PROCEEDINGS:     X Open Court     Chambers     Other

A Settlement Conference being held and agreement between parties being reached, parties agree as
follows:

The essential terms of the Settlement Agreement have been put forth on the record.

IT IS HEREBY ORDERED final execution of the settlement in this case will be completed no later
than within two weeks of returning the signed stipulation.

A Stipulation to Dismiss this case with prejudice each side to pay its own costs and fees to be filed with
the Court no later than January 8, 2018.

Based on a confidentiality agreement between the parties, the Court ORDERS the audio recording of
this settlement conference sealed and accessible only by Court Order.


Total time: 3 hr 14 min
(1:30 PM – 4:44 PM)
